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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

JULIE WAGNER,                                 )
                                              )
                      Plaintiff,              )
                                              )                 8:10CV388
       v.                                     )
                                              )                  ORDER
NATIONAL ACTION FINANCIAL,                    )
                                              )
                      Defendant.              )


       Upon notice of settlement given to the magistrate judge on December 14, 2010, by
counsel for the plaintiff,
       IT IS ORDERED that:
       1.      On or before January 14, 2011, the parties shall electronically file a joint
stipulation for dismissal (or other dispositive stipulation) and shall submit to Chief Judge
Joseph F. Bataillon, at bataillon@ned.uscourts.gov, a draft order which will fully dispose
of the case. If the case is being dismissed, the stipulation shall comply with Fed. R. Civ.
P. 41(a) and shall state whether the dismissal is with or without prejudice.
       2.      Absent compliance with this order, this case (including all counterclaims and
the like) may be dismissed without further notice.
       3.      All deadlines, including the answer deadline and the deadline for filing the
planning report, are canceled upon the representation that this case is settled.
       DATED this 14th day of December, 2010.
                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
